Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 1 of 42 PageID #: 4316




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION


  TQ DELTA, LLC,
                            Plaintiff,
                      v.
                                              CIV. A. NO. 2:21-CV-310-JRG
  COMMSCOPE HOLDING COMPANY, INC.,                  (Lead Case)
  COMMSCOPE INC., ARRIS
  INTERNATIONAL LIMITED, ARRIS
  GLOBAL LTD., ARRIS US HOLDINGS, INC.,
  ARRIS SOLUTIONS, INC., ARRIS
  TECHNOLOGY, INC., and ARRIS
  ENTERPRISES, LLC,
                      Defendants.



  TQ DELTA, LLC,
                            Plaintiff,
                      v.
                                              CIV. A. NO. 2:21-CV-309-JRG
  NOKIA CORP., NOKIA SOLUTIONS AND                  (Member Case)
  NETWORKS OY, and NOKIA OF AMERICA
  CORP.,
                      Defendants.


  NOKIA OF AMERICA CORP.,
                     Third-Party Plaintiff,
                  v.

  BROADCOM CORP., BROADCOM INC., and
  AVAGO TECHNOLOGIES
  INTERNATIONAL SALES PTE. LTD.,
                    Third-Party
                    Defendants.


                            DEFENDANTS’ RESPONSIVE
                           CLAIM CONSTRUCTION BRIEF
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 2 of 42 PageID #: 4317




                                              TABLE OF CONTENTS

I.    AGREED CONSTRUCTIONS .......................................................................................... 1
II.   ARGUMENT ...................................................................................................................... 2
      A.        Terms in Multiple Patent Families .......................................................................... 2
                i.         “Transceiver” (All Families)....................................................................... 2
                ii.        “Operable To” / “Configurable To” (Families 2, 3, 6, 9, and 10) .............. 3
      B.        Family 1 Terms ....................................................................................................... 5
                i.         “Each Bit In The Diagnostic Message Is Mapped To At Least One
                           DMT Symbol” ............................................................................................ 5
                ii.        “Array Representing Frequency Domain Received Idle Channel
                           Noise Information” ..................................................................................... 7
      C.        Family 2 Terms ....................................................................................................... 8
                i.         “Plurality Of Bonded Transceivers” ........................................................... 8
                ii.        “Reduce A Difference In Latency Between The Bonded
                           Transceivers” .............................................................................................. 9
      D.        Family 3 Terms ..................................................................................................... 12
                i.         “Shared Memory” ..................................................................................... 12
                ii.        “Wherein The Generated Message Indicates How The Memory
                           Has Been Allocated Between The [First Deinterleaving /
                           Interleaving] Function And The [Second] Deinterleaving
                           Function” / “A Message Indicating How The Shared Memory Is
                           To Be Used By The Interleaver Or Deinterleaver” .................................. 14
      E.        Family 4 Terms ..................................................................................................... 15
                i.         “Phase Characteristic(s)” .......................................................................... 15
                ii.        “Substantially Scramble The Phase Characteristics Of The
                           Plurality of Carrier Signal” ....................................................................... 15
                iii.       “Same Bit Value” / “Multiple Carrier Signals Corresponding To
                           The Scrambled Carrier Signals Are Used By The First Multicarrier
                           Transceiver To Modulate The Same Bit Value”....................................... 16
                iv.        “Computing A Phase Shift For Each Carrier Signal” ............................... 19
                v.         “Combining The Phase Shift Computed For Each Respective
                           Carrier Signal With The Phase Characteristic Of That Carrier
                           Signal”....................................................................................................... 19
      F.        Family 6 Terms ..................................................................................................... 20
                i.         “Steady-State Communication” ................................................................ 20



                                                                 ii
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 3 of 42 PageID #: 4318




                 ii.        “Flag Signal” ............................................................................................. 21
                 iii.       “FIP Setting” and “FIP Value” ................................................................. 21
                 i.         “Interleaver Parameter Value” .................................................................. 23
       G.        Family 9 Terms ..................................................................................................... 24
                 i.         “Higher Immunity To Noise” ................................................................... 24
                 ii.        The “Using” Terms ................................................................................... 25
                 iii.       “Receive At Least One Message Without Using Interleaving” ................ 26
       H.        Family 10 Terms ................................................................................................... 27
                 i.         “A Multicarrier Communications Transceiver Operable To:
                            Receive A Multicarrier Symbol Comprising A First Plurality Of
                            Carriers” .................................................................................................... 27
                 ii.        “Receive A First Plurality Of Bits On The First Plurality Of
                            Carriers Using A First SNR Margin; Receive A Second Plurality
                            Of Bits On The Second Plurality Of Carriers Using A Second SNR
                            Margin” ..................................................................................................... 28
                 iii.       “Wherein The First SNR Margin Provides More Robust Reception
                            Than The Second SNR Margin” ............................................................... 29
                 iv.        “Signal To Noise Ratio (SNR) Margin” / “SNR Margin” ........................ 29
III.   CONCLUSION ................................................................................................................. 30




                                                                  iii
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 4 of 42 PageID #: 4319




                                                  TABLE OF AUTHORITIES

                                                                                                                                        Page(s)

Cases

Alexsam, Inc. v. Simon Prop. Grp., L.P.,
   No. 2:19-cv-331-RWS-RSP, 2021 U.S. Dist. LEXIS 255029 (E.D. Tex. Nov.
   15, 2021) ..................................................................................................................................30

Amgen Inc. v. Hoechst Marion Roussel,
  314 F.3d 1313 (Fed. Cir. 2003)................................................................................................27

Beneficial Innovations, Inc. v. Blockdot, Inc.,
   No. 2:07-cv-263, 2010 WL 1441779 (E.D. Tex. Apr. 12, 2010) ............................................25

Chef Am., Inc. v. Lamb-Weston, Inc.,
   358 F.3d 1371 (Fed. Cir. 2004)..................................................................................................8

Ecolab, Inc. v. Envirochem, Inc.,
   264 F.3d 1358 (Fed. Cir. 2001)................................................................................................16

Fantasy Sports Props. v. Sportsline.com, Inc.,
   287 F.3d 1108 (Fed. Cir. 2002)..................................................................................................5

Finjan, Inc. v. Secure Computing Corp.,
   626 F.3d 1197 (Fed. Cir. 2010)..................................................................................................5

Foremost in Packaging Sys. v. Cold Chain Techs.,
   No. SACV 05-24-JVS(MLGx), 2005 U.S. Dist. LEXIS 50721 (C.D. Cal. Nov.
   21, 2005) ................................................................................................................................7, 8

Huawei Techs. Co. v. Verizon Comm’cns,
   No. 2:20-cv-00030-JRG, 2021 U.S. Dist. LEXIS 7944 (E.D. Tex. Jan. 15,
   2021) ..........................................................................................................................................4

Irdeto Access, Inc. v. EchoStar Satellite Corp.,
    383 F.3d 1295 (Fed. Cir. 2004)..........................................................................................22, 24

Love v. Tyson Foods, Inc.,
   677 F.3d 258 (5th Cir. 2012) .........................................................................................1, 14, 30

Mass. Inst. of Tech. v. Shire Pharm., Inc.,
  839 F.3d 1111 (Fed. Cir. 2016)................................................................................................21

Minn. Mining and Mfr’g Co. v. Chemque, Inc.,
   303 F.3d 1294 (Fed. Cir. 2002)................................................................................................14




                                                                        iv
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 5 of 42 PageID #: 4320




Nautilus, Inc. v. Biosig Instruments,
   134 S. Ct. 2120 (2014) .........................................................................................................6, 28

O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co.,
   521 F.3d 1351 (Fed. Cir. 2008)..................................................................................................2

Phillips v. AWH Corp.,
   415 F.3d 1303 (Fed. Cir. 2005)..................................................................................................3

Sipco, LLC v. Amazon.com, Inc.,
    No. 2:08-CV-359-JRG, 2012 U.S. Dist. LEXIS 150940 (E.D. Tex. Oct. 19,
    2019) ..........................................................................................................................................4

Solocron Media, LLC v. Verizon Comm’cns Inc.,
   No. 2:13-cv-1059-JRG-RSP, 2015 U.S. Dist. LEXIS 26681 (E.D. Tex. Mar. 5,
   2015) ..........................................................................................................................................4

Typhoon Touch Tech. Inc. v. Dell Inc.,
   659 F.3d 1376 (Fed. Cir. 2011)..................................................................................................9

Va. Panel Corp. v. Mac Panel Co.,
    133 F.3d 860 (Fed. Cir. 1997)..................................................................................................16

WesternGeco LLC v. ION Geophysical Corp.,
   889 F.3d 1308 (Fed. Cir. 2018)..........................................................................................15, 20

Wi-LAN USA, Inc. v. Apple Inc.,
   830 F.3d 1374 (Fed. Cir. 2016)................................................................................................12

Zenon Envtl., Inc. v. U.S. Filter Corp.,
   506 F.3d 1370 (Fed. Cir. 2007)................................................................................................23




                                                                         v
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 6 of 42 PageID #: 4321




                                TABLE OF EXHIBITS

  Exhibit No.                                   Reference
       1        U.S. Patent No. 7,570,686 (the “’686 Patent”)
       2        U.S. Patent No. 9,014,193 (the “’193 Patent”)
       3        U.S. Patent No. 9,300,601 (the “’601 Patent”)
       4        U.S. Patent No. 9,894,014 (the “’014 Patent”)
       5        U.S. Patent No. 8,495,473 (the “’5473 Patent”)
       6        U.S. Patent No. 7,844,882 (the “’882 Patent”)
       7        U.S. Patent No. 9,547,608 (the “’608 Patent”)
       8        U.S. Patent No. 10,409,510 (the “’510 Patent”)
       9        U.S. Patent No. 8,090,008 (the “’008 Patent”)
      10        U.S. Patent No. 10,567,112 (the “’112 Patent”)
      11        U.S. Patent No. 8,594,162 (the “’162 Patent”)
      12        U.S. Patent No. 9,485,055 (the “’055 Patent”)
      13        U.S. Patent No. 9,094,348 (the “’348 Patent”)
      14        U.S. Patent No. 10,833,809 (the “’809 Patent”)
      15        U.S. Patent No. 8,595,577 (the “’577 Patent”)
      16        U.S. Patent No. 8,468,411 (the “’411 Patent”)
      17        U.S. Patent No. 10,044,473 (the “’4473 Patent”)
      18        U.S. Patent No. 9,154,354 (the “’354 Patent”)
      19        U.S. Patent No. 8,937,988 (the “’988 Patent”)
      20        U.S. Patent No. 8,276,048 (the “’048 Patent”)
      21        U.S. Patent No. 7,453,881 (the “’881 Patent”)
      22        U.S. Patent No. 8,462,835 (the “’835 Patent”)
      23        Declaration of Bruce McNair Regarding Claim Construction (“McNair Decl.”)
      24        Declaration of George A. Zimmerman, Ph.D. Regarding Claim Construction
                (“Zimmerman Decl.”)
      25        Declaration of Richard D. Wesel, Ph.D. Regarding Claim Construction
                (“Wesel Decl.”)
      26        U.S. Patent Provisional Application No. 60/164,134 (“’134 Provisional”)
      27        Parties’ Joint Claim Construction Brief for the Family 4 Patents in the
                Delaware Cases (“TQD Delaware Family 4 Br.”)
      28        Transcript of Deposition of Todor Cooklev, Ph.D., dated Apr. 8, 2022
                (“Cooklev Dep. Tr.”)
      29        Family 6 Claim Construction Memorandum Opinion in the Delaware Cases
                (“Family 6 CC Mem. Op.”)
      30        Family 2 Claim Construction Memorandum Opinion in the Delaware Cases
                (“Family 2 CC Mem. Op.”)
      31        Claim Chart for U.S. Patent No. 7,844,882 – F3 – VDSL2 – Nokia (“’882
                Patent Claim Chart for Nokia”)
      32        Family 4 Claim Construction Memorandum Opinion in the Delaware Cases
                (“Family 4 CC Mem. Op.”)
      33        Declaration of Dr. Todor Cooklev in Support of Plaintiff’s Opening Claim
                Construction Brief (“Cooklev Decl.”)



                                           vi
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 7 of 42 PageID #: 4322




  Exhibit No.                                  Reference
      34        ADTRAN Case Markman Hearing Tr., dated Mar. 18, 2021
      35        Family 1 Claim Construction Memorandum Opinion in the Delaware Cases
                (“Family 1 CC Mem. Op.”)
      36        Family 6 Claim Construction Order in the Delaware Cases (“Family 6 CC
                Order”)




                                         vii
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 8 of 42 PageID #: 4323




                             TABLE OF ABBREVIATIONS

      Abbreviation                                         Term
          Nokia            Nokia of America Corporation, Nokia Corporation, and Nokia
                           Solutions and Networks Oy
       CommScope           CommScope Holding Company, Inc., CommScope Inc., ARRIS
                           US Holdings, Inc., ARRIS Solutions, Inc., ARRIS Technology,
                           Inc., and ARRIS Enterprises, LLC
       Defendants          Nokia and CommScope
   TQ Delta or Plaintiff   TQ Delta, LLC
        POSITA             Person of ordinary skill in the art
   The ADTRAN Case         TQ Delta LLC v. ADTRAN Inc., No. 1:14-cv-00954-RGA (D. Del.)
     The 2Wire Case        TQ Delta LLC v. 2Wire Inc., No. 1:13-cv-01835-RGA (D. Del.)
   The Delaware Cases      The ADTRAN Case and the 2Wire Case
        TQD Br.            TQ Delta’s Opening Brief, Dkt. 124
   The Family 1 Patent     U.S. Patent No. 7,570,686 (the “’686 Patent”)
   The Family 2 Patents    U.S. Patent No. 7,453,881 (the “’881 Patent”); U.S. Patent No.
                           9,014,193 (the “’193 Patent”); U.S. Patent No. 9,300,601 (the “’601
                           Patent”); U.S. Patent No. 9,894,014 (the “’014 Patent”)
   The Family 3 Patents    U.S. Patent No. 8,495,473 (the “’5473 Patent”); U.S. Patent No.
                           7,844,882 (the “’882 Patent”); U.S. Patent No. 9,547,608 (the “’608
                           Patent”); U.S. Patent No. 10,409,510 (the “’510 Patent”); U.S.
                           Patent No. 8,276,048 (the “’048 Patent”)
   The Family 4 Patent     U.S. Patent No. 8,090,008 (the “’008 Patent”)
   The Family 6 Patents    U.S. Patent No. 8,462,835 (the “’835 Patent”); U.S. Patent No.
                           10,567,112 (the “’112 Patent”); U.S. Patent No. 8,594,162 (the
                           “’162 Patent”)
   The Family 9 Patents    U.S. Patent No. 9,485,055 (the “’055 Patent”); U.S. Patent No.
                           9,094,348 (the “’348 Patent”); U.S. Patent No. 10,833,809 (the
                           “’809 Patent”); U.S. Patent No. 8,595,577 (the “’577 Patent”); U.S.
                           Patent No. 8,468,411 (the “’411 Patent”); U.S. Patent No.
                           10,044,473 (the “’4473 Patent”)
   The Family 10 Patents   U.S. Patent No. 9,154,354 (the “’354 Patent”); U.S. Patent No.
                           8,937,988 (the “’988 Patent”)
  The Transceiver Claims   Claims 17, 36, and 40 of the ’686 Patent; claims 17, 18, 21, 23, 25,
                           26, 29, 31, 33, and 37 of the ’881 Patent; claims 1, 9, 10, 11, 12, and
                           13 of the ’193 Patent; claims 8, 9, 13, 14, 15, 16, 17, 18, and 21 of
                           the ’601 Patent; claims 1 and 3 of the ’014 Patent; claims 9 and 13
                           of the ’882 Patent; claims 1 and 5 of the ’048 Patent; claims 10 and
                           28 of the ’5473 Patent; claims 1, 2, 3, and 4 of the ’608 Patent;
                           claims 21 and 22 of the ’510 Patent; claim 14 of the ’008 Patent;
                           claims 8 and 24 of the ’835 Patent; claims 8, 10, 11, 12, and 14 of
                           the ’112 Patent; claims 10, 11, 17, 18, 19, and 25 of the ’411 Patent;
                           claims 16, 30, 37, 38, 53, and 54 of the ’577 Patent; claims 1, 3, 9,
                           and 11 of the ’348 Patent; claims 11, 17, and 19 of the ’055 Patent;
                           claims 1 and 3 of the ’4473 Patent; claims 1, 3, 4, 6, 8, 10, 11, 13,



                                             viii
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 9 of 42 PageID #: 4324




      Abbreviation                                         Term
                           15, 17, 18, 20, 22, 25, and 27 of the ’809 Patent; claims 10-12 of
                           the ’354 Patent; claim 16 of the ’988 Patent
    The Operable To /      Claims 1, 9, and 13 of the ’193 Patent; claims 8, 14, and 21 of the
  Configurable To Claims   ’601 Patent; claim 1 of the ’014 Patent; claims 1 and 4 of the ’608
                           Patent; claims 21 and 22 of the ’510 Patent; claim 8 of the ’112
                           Patent; claims 16, 30, 37, 38, 53, and 54 of the ’577 Patent; claims
                           1, 3, 9, and 11 of the ’348 Patent; claim 11 of the ’055 Patent; claims
                           1 and 3 of the ’4473 Patent; claim 10 of the ’354 Patent; claim 16
                           of the ’988 Patent




                                              ix
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 10 of 42 PageID #: 4325




            TQ Delta asserts constructions that inappropriately inject limitations into the terms or limit

     the claims to particular embodiments. In a number of places, TQ Delta takes positions that are

     contrary to positions it took in litigation it brought on the same patents, and contrary to the

     constructions that the court ordered in that litigation. TQ Delta is estopped from asserting these

     positions, and they should not be adopted. See Love v. Tyson Foods, Inc., 677 F.3d 258, 261 (5th

     Cir. 2012). In contrast, Defendants assert constructions that are consistent with the intrinsic

     evidence, the understanding of a POSITA, and the lexicography in the Asserted Patents.

            The Asserted Patents span seven families, and the parties refer to the families by the

     nomenclature used in the co-pending Delaware Cases that TQ Delta has filed against other

     defendants: Families 1, 2, 3, 4, 6, 9, and 10. Defendants address the terms for each family in turn.

I.          AGREED CONSTRUCTIONS

            Defendants disagree with TQ Delta’s statement regarding agreed constructions. See TQD

     Br. at 2. As stated in the parties’ Joint Claim Construction and Prehearing Statement, the parties

     do not presently have agreed claim constructions. Dkt. 107 at 2. In particular, there appears to be

     a dispute between the parties regarding the plain and ordinary meaning of the term “specifying a

     maximum number of bytes of memory that are available to be allocated to [a/an

     interleaver/deinterleaver]” in claims 9 and 13 of the ’882 Patent and claims 1 and 5 of the ’048

     Patent. Defendants’ proposed construction of “plain and ordinary meaning” requires that the

     message transmitted or received during initialization actually specifies a maximum number of

     bytes of memory available to be allocated. This interpretation is consistent with the language of

     the claims and the specification. ’882 Patent at 8:60–9:4. Additionally, while TQ Delta’s brief is

     unclear, TQ Delta’s Infringement Contentions indicate that TQ Delta takes a broader position that

     reads out the requirement—stated directly in the claim term itself—that the message specify the

     maximum number of bytes. See, e.g., ’882 Patent Claim Chart for Nokia at 3–5. Thus, this is a



                                                      1
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 11 of 42 PageID #: 4326




  case where merely adopting “the ‘ordinary’ meaning of a term does not resolve the parties’ dispute,

  and claim construction requires the court to determine what claim scope is appropriate in the

  context of the patents-in-suit.” O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351,

  1361 (Fed. Cir. 2008). Thus, Defendants respectfully request that the Court enter a construction

  for the term “specifying a maximum number of bytes of memory that are available to be allocated

  to [a/an interleaver/deinterleaver]” as “plain and ordinary meaning, where the message must

  specify a maximum number of bytes.”

II.         ARGUMENT

            A. Terms in Multiple Patent Families

                    i. “Transceiver” (All Families)1

           TQ Delta’s Proposed Construction                    Defendants’ Proposed Construction
      Plain and ordinary meaning, which is:                Plain and ordinary meaning, which is:
      “communications device capable of                    “communications device capable of
      transmitting and receiving data wherein the          transmitting and receiving data”
      transmitter portion and receiver portion share
      at least some common circuitry.”

            The parties agree that a “transceiver” is a “communications device capable of transmitting

  and receiving data,” but TQ Delta’s proposed construction adds an additional requirement—that

  “the transmitter portion and receiver portion share at least some common circuitry.” There is no

  basis in the intrinsic record for this restriction, and there is no evidence of disclaimer or

  lexicography to support it.

            Defendants’ proposed construction is correct because each of the relevant patent

  specifications discloses that the claimed transceivers must be capable only of both transmitting

  and receiving data—and nothing more. See, e.g., ʼ686 Patent (Family 1) at 1:54-60 (“[e]ach

  modem includes a transmitter section for transmitting data and a receiver section for receiving


  1
      This term appears in the Transceiver Claims. See Table of Abbreviations.



                                                       2
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 12 of 42 PageID #: 4327




 data”). There is no language in either the claims or the specifications suggesting that the transmitter

 or receiver must share (undefined) common circuitry. See Phillips v. AWH Corp., 415 F.3d 1303,

 1315 (Fed. Cir. 2005). In support of its proposed construction requiring shared common circuitry,

 TQ Delta relies only on extrinsic evidence in the form of two dictionary definitions, which is “less

 reliable than the patent and its prosecution history in determining how to read claim terms.” Id. at

 1318. Notably absent is any support for its construction within the intrinsic record.

           Defendants recognize that the Delaware court previously construed the term “transceiver”

 consistent with TQ Delta’s proposed construction here. Family 1 CC Mem. Op. at 4. Nokia was

 not a party to those cases, and thus cannot be bound by the Delaware court’s construction. In any

 event, the Delaware construction is inconsistent with this Court’s previous construction of the

 same term. In Wi-LAN Inv. v. HTC Corp., this Court construed “transceiver” to mean “a device

 that transmits and receives data.” No. 2:11-CV-68-JRG, 2013 U.S. Dist. LEXIS 52117, at *17

 (E.D. Tex. Apr. 11, 2013). That construction is entirely consistent with Defendants’ proposed

 construction in this case. Dr. Cooklev also indicated that common circuitry is not a requirement,

 stating that “[t]ypically, the transmitter . . . and the receiver . . . share at least some common

 circuitry.” Cooklev Decl. at ¶ 27.2 The Court should adopt Defendants’ construction.

                  ii. “Operable To” / “Configurable To” (Families 2, 3, 6, 9, and 10) 3

          TQ Delta’s Proposed Construction                  Defendants’ Proposed Construction
     Plain and ordinary meaning, which is: “able        Plain and ordinary meaning, not mere
     to be configured” / “capable” / “capable to”       capability

           The terms “operable to” and “configurable to” should be construed to have their plain and

 ordinary meaning, which does not encompass mere capability. These terms require structure that




 2
     Emphasis added unless otherwise noted.
 3
     These terms appear in the Operable To / Configurable To Claims. See Table of Abbreviations.



                                                    3
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 13 of 42 PageID #: 4328




 presently is “operable to” or “configurable to” perform the stated tasks, not merely capable of

 being modified to do so.

          Consistent with Defendants’ proposed construction, in the Delaware Cases, the court

 construed the term “configurable to” (and the related term “configured to”) as requiring more than

 mere capability. The court defined them as “includ[ing] the necessary hardware and software for

 performing the functionality recited in the claim without the need to rebuild, rewrite or recompile

 the code for, or redesign any of the hardware or software.” ADTRAN Case, 2021 U.S. Dist.

 LEXIS 60151, at *10 (D. Del. Mar. 30, 2021); Family 2 CC Mem. Op. at 12. Similarly, the court

 construed “operable to” consistent with the defendants’ proposed construction as “in operation to,”

 which does not encompass mere capability. In particular, the court held that “operable to” requires

 “actual operation.” ADTRAN Case, 2019 U.S. Dist. LEXIS 153622, at *11 (D. Del. Sept. 10,

 2019).

          This Court has construed the similar term “configured to” several times to have this same

 construction. See, e.g., Huawei Techs. Co. v. Verizon Comm’cns, No. 2:20-cv-00030-JRG, 2021

 U.S. Dist. LEXIS 7944, at *60 (E.D. Tex. Jan. 15, 2021); Sipco, LLC v. Amazon.com, Inc., No.

 2:08-CV-359-JRG, 2012 U.S. Dist. LEXIS 150940, at *147 (E.D. Tex. Oct. 19, 2019); Solocron

 Media, LLC v. Verizon Comm’cns Inc., No. 2:13-cv-1059-JRG-RSP, 2015 U.S. Dist. LEXIS

 26681, at *36 (E.D. Tex. Mar. 5, 2015) (construing “configured to” to have its plain meaning,

 “which the Court understands to require not merely being capable of being configured but rather

 being actually configured”).

          TQ Delta’s overbroad proposal, by comparison, seeks to encompass any structure that

 could be modified to meet the claim language. For example, TQ Delta suggests that the claim

 language requiring transceivers to be “operable as bonded transceivers” would, under TQ Delta’s




                                                  4
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 14 of 42 PageID #: 4329




 proposal, include “[a] transceiver that contains the capability to be bonded with another

 transceiver.” TQD Br. at 4. That view would effectively allow unbonded transceivers to qualify

 as bonded transceivers because one could modify them to be bonded. TQ Delta offers no intrinsic

 evidence in support of that construction. TQ Delta relies on the Federal Circuit’s decisions in

 Finjan and Fantasy Sports, but they did not deal with the relevant terms here, “configurable to”

 and “operable to.” Rather, those cases addressed infringement of “a claim that recites capability

 and not actual operation,” whereas here the claims do not encompass mere capability. Finjan, Inc.

 v. Secure Computing Corp., 626 F.3d 1197, 1205 (Fed. Cir. 2010); see also Fantasy Sports Props.

 v. Sportsline.com, Inc., 287 F.3d 1108, 1118 (Fed. Cir. 2002). The terms at issue here require

 “actual operation,” just as the Delaware court previously held, and consistent with this Court’s

 construction of similar terms.

           B. Family 1 Terms

                  i. “Each Bit In The Diagnostic Message Is Mapped To At Least One DMT
                     Symbol” 4

         TQ Delta’s Proposed Construction                   Defendants’ Proposed Construction
     “each bit in the diagnostic message is             Indefinite
     communicated using a modulation scheme
     where a DMT symbol (or two or more DMT
     symbols) represents only a single bit of the
     diagnostic message”

           This term is indefinite. As described in Dr. McNair’s declaration, a POSITA would not

 understand the meaning of the phrases “mapped” or mapped to “at least one” and “one” as used in

 the asserted limitation. McNair Decl. at ¶¶ 44-57. Specifically, as Dr. McNair explains, this

 language is subject to any number of interpretations, resulting in confusion as to what is intended.

 See, e.g., id. at ¶ 46 (“Specifically, the term ‘mapped’ could mean that the same bit value is



 4
     This term appears in claims 17, 36, and 40 of the ’686 Patent.



                                                    5
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 15 of 42 PageID #: 4330




 represented by one symbol, two symbols, or every symbol that results from a given DMT signal.

 A person of skill in the art would understand that you have to define a mapping function with

 specificity in order to implement that particular function.”). Accordingly, because this term is not

 “precise enough to afford clear notice of what is claimed,” it is indefinite. Nautilus, Inc. v. Biosig

 Instruments, 134 S. Ct. 2120, 2129 (2014).

         In addition to the claim language itself, the specification confirms the ambiguity of the

 term. For example, the specification contains a single description of the term “mapped”: “In the

 one bit per DMT symbol modulation message encoding scheme, a bit with value 0 is mapped to

 the REVERB1 signal and a bit with a value of l is mapped to a SEGUE1 signal.” ’686 Patent at

 3:54-57. But this language references mapping to a particular signal, not a symbol, and provides

 no insight as to what it means to map a bit of the diagnostic message to a symbol. Additionally,

 the claim’s use of the language “at least one DMT symbol” necessarily includes mapping to

 multiple DMT symbols. A POSITA would not understand how a bit in a message could be

 “mapped” to more than one DMT symbol. McNair Decl. at ¶ 50. Indeed, as described above, the

 discussion within the specification of the “one bit per DMT symbol modulation scheme,” ’686

 Patent at 3:54-57, does not disclose that any particular bit is mapped to more than one DMT symbol

 or how that would be accomplished. Thus, the language of the patent itself raises a number of

 questions in the mind of a POSITA, such as (1) whether there is some error coding used to map a

 bit into several redundant symbols, (2) whether the same bit is sent multiple times, once in each

 symbol, or (3) whether the claim language contemplates something else entirely. McNair Decl. at

 ¶ 50.




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Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 16 of 42 PageID #: 4331




                  ii. “Array Representing Frequency Domain Received Idle Channel Noise
                      Information” 5

          TQ Delta’s Proposed Construction                    Defendants’ Proposed Construction
     “ordered set of values representative of noise       “array of values representative of noise in the
     in the frequency domain that was received by         frequency domain that was received by a
     a transceiver on respective subchannels in the       transceiver on respective subchannels in the
     absence of a transmission signal on the              absence of a transmission signal”
     received channel”

           TQ Delta’s proposed construction attempts to read language into the claim where it is

 unnecessary to do so. First, as other courts have recognized, “array” is a commonly accepted term

 of art and need not be further construed. See, e.g., Foremost in Packaging Sys. v. Cold Chain

 Techs., No. SACV 05-24-JVS(MLGx), 2005 U.S. Dist. LEXIS 50721, at *10 (C.D. Cal. Nov. 21,

 2005). Here, the specification—written for skilled artisans—uses the phrase “arrays with different

 lengths” without elaborating on the term “array,” indicating that a POSITA understands the term.

 ’686 Patent at 4:38-42. Notably, there is no record support for restricting the claimed “array” to

 an “ordered set” of values as TQ Delta proposes.

           With respect to the phrase “in the absence of a transmission signal” (common to the parties’

 proposed constructions), there is no basis to limit the phrase to “the received channel” as TQ Delta

 proposes. This term is easily understood to refer to noise received by a transceiver when that

 transceiver’s “received” channel is idle, i.e., when the transceiver is not receiving a transmission

 signal. TQ Delta’s proposed addition of “on the received channel” is contrary to the specification.

 A transmission signal is produced by combining multiple carrier signals (each associated with a

 subchannel) and is transmitted by a remote transmitter and received by the claimed transceiver

 only as a whole. See ʼ686 Patent at 1:34-43, 2:1-11. Therefore, for a channel to be idle, as required

 by the claim, the transceiver must be “off.” But TQ Delta’s proposed construction would permit



 5
     This term appears in claims 17, 36, and 40 of the ’686 Patent.



                                                      7
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 17 of 42 PageID #: 4332




 an interpretation that, despite the transmitter being “off” (and therefore not transmitting), a

 transmission signal could be received on some channels but be absent for others.

           C. Family 2 Terms

                  i. “Plurality Of Bonded Transceivers”6

          TQ Delta’s Proposed Construction                  CommScope’s Proposed Construction
     “two or more transceivers located on the same       “two or more transceivers, located on the
     side of two or more physical links where each       same side of two or more physical links and
     transceiver is configurable to transmit or          each corresponding to one of the physical
     receive a different portion of the same bit         links, coordinated to transmit or receive a
     stream via a different one of the physical          different portion of the same bit stream via a
     links”                                              different one of the physical links”

           The dispute over this term is very simple—CommScope seeks a construction that reflects

 the claim language that applicants chose to use, while TQ Delta attempts to broaden that language

 to capture the accused devices. The applicants could have chosen language such as a “plurality of

 transceivers capable of being bonded,” but they did not. TQ Delta should not now be permitted to

 rewrite the claim. See Chef Am., Inc. v. Lamb-Weston, Inc., 358 F.3d 1371, 1374 (Fed. Cir. 2004).

           Although the term “bonded transceivers” only appears in the claims, the specification uses

 the term “bonded” in a manner consistent with CommScope’s proposed construction.                     For

 example, the specification states that “[t]he exemplary systems and methods of this invention

 combine multiple DSL PHY’s, i.e., multiple twisted wire pairs, to, for example, generate a high

 data rate connection for the transport of an ATM cell stream between the service provider and,

 for example, a DSL subscriber.” ’881 Patent at 1:60-64. The specification later states that “two

 ADSL PHYs 160 and 170 are ‘bonded’ together to transport a single ATM cell stream.” Id. at

 4:29-31. As the physical layer, or PHY, is a conceptual layer within an ADSL transceiver, the




 6
   This term appears in claims 17, 18, 21, 23, 25, 26, 29, 31, 33, and 37 of the ’881 Patent. The
 ’881 Patent is asserted against CommScope only.



                                                     8
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 18 of 42 PageID #: 4333




 specification clearly describes “bonded transceivers” as transceivers coordinated to combine two

 lines together to form a single high data rate ATM cell stream.

           TQ Delta asserts that its proposed construction is consistent with Federal Circuit law

 because “[a]n apparatus claim covers ‘what a device is, not what a device does.’” TQD Br. at 9.

 However, TQ Delta ignores that the so-called “apparatus” of the claims is not described by any

 structure or components; rather, it is simply described as “bonded transceivers” performing

 functions.     Unlike TQ Delta’s proposed construction, CommScope’s proposed construction

 reflects the critical concept that the transceivers must actually do something, i.e., be bonded to

 transmit different portions of the same bit stream. See Typhoon Touch Tech. Inc. v. Dell Inc., 659

 F.3d 1376, 1380-81 (Fed. Cir. 2011) (affirming claim construction that required a memory to

 actually perform a recited function as opposed to merely being “configured to” perform it).

                  ii. “Reduce A Difference In Latency Between The Bonded Transceivers”7

         TQ Delta’s Proposed Construction                     Defendants’ Proposed Construction8
     “reduce a difference in configuration latency”       Indefinite, or, if not indefinite, “minimize the
                                                          difference in the configuration latencies
                                                          between the bonded transceivers”

           The intrinsic record fails to inform, with reasonable certainty, those skilled in the art about

 the scope of this claim term, and therefore the term should be found indefinite. While the

 specification of the Family 2 Patents identifies characteristics that contribute to latency, the

 intrinsic record fails to inform a POSITA about the scope of the requirement to “reduce a difference

 in latency.” The specification states that there can be a “latency difference,” and it describes

 various types of latencies, but it never explains how to “reduce a difference in latency” as the claim




 7
  This term appears in claims 17, 25, 26, 29, 31, 33, and 37 of the ’881 Patent.
 8
   Nokia only proposes that this term is indefinite. CommScope sets forth the alternative
 construction in the chart above and as briefed below.



                                                      9
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 19 of 42 PageID #: 4334




 requires. See, e.g., ’881 Patent at 6:5–31 (describing “exemplary” latency differences as including

 but not limited to “configuration latency,” “ATM-TC latency,” “[w]ire latency,” and “[d]esign

 latency”).9

        As TQ Delta rightly acknowledges, the claims require “utilizing at least one transmission

 parameter value . . . to reduce a difference in latency between the bonded transceivers.” TQD Br.

 at 10 n.7. TQ Delta then points to the specification’s use of buffers for dealing with delay as

 support that the “claimed ‘reduction’ can relate to what the latency difference would have

 otherwise been in the absence of transmission parameters.” TQD Br. at 11. That argument is

 flawed. The specification’s discussion of “buffers” addresses a completely different embodiment

 than what is claimed. In particular, the specification provides that, in one embodiment, one way

 to deal with the difference in latencies between two lines is to just store the data from the line that

 is received first in a buffer until the data from the second line arrives. ’881 Patent at 6:36-55 (“the

 multi-pair multiplexing receiver 500 can simply wait until, for example, cell number 1 comes in

 path number one, while path number two will buffer cell number 2 and wait for cell number 1 to

 be received”). In this embodiment, the latency between the two lines is not reduced at all; rather,

 one line is simply held up while waiting for data on the other line to arrive. Thus, the discussion

 of buffers does not indicate that the patent considers comparing latency between a system with and

 a system without transmission parameters.

        Further, the only potentially relevant disclosure regarding a means to “reduce the difference

 in latency” is through adjusting the configuration latency. ’881 Patent at 6:66-7:34. But simply

 reducing the difference in configuration latency is not sufficient to reduce the overall difference




 9
   Throughout, where the patents of a particular family share a common specification, Defendants
 cite to only one patent for brevity.



                                                   10
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 20 of 42 PageID #: 4335




 in latency of the system. For instance, as Dr. Zimmerman explained, a POSITA would recognize

 that “it is possible to increase the difference in overall latency between two links by reducing the

 difference in configuration latency. Where one link’s wire latency is 10x greater than the second,

 utilizing transmission parameters to only reduce a difference in configuration latency could

 exacerbate the difference in overall latency, or leave it unchanged (i.e., by bringing the

 configuration latencies close to one another, the 10x wire latency difference remains unresolved).”

 Zimmerman Decl. at ¶ 61. Because the claims and specification do not provide any guidance, and

 the prosecution history fails to resolve this issue, see Zimmerman Decl. at ¶ 62, the limitation “to

 reduce a difference in latency” lacks any certainty as to its meaning or scope, let alone reasonable

 certainty, and therefore is indefinite.

         Alternatively, if this claim term is not indefinite, the Court should adopt CommScope’s

 proposed construction because it is consistent with the specification.10 TQ Delta points to the

 disclosure of “buffers” to argue that the difference in configuration latencies between bonded

 transceivers does not have to be minimized. TQD Br. at 11-12. As discussed above, the patent’s

 discussion of buffers does not address the claimed embodiment and is therefore irrelevant.

         In contrast, the claimed embodiment is described as an “effective method of reducing the

 difference in latency between DSL PHYs.” ’881 Patent at 6:56-59. The specification teaches that

 the configuration latency can be reduced by configuring the transmission parameters of the

 transceivers. Id. Thus, the only embodiment potentially disclosed that “reduces” the difference in

 configuration latency between two bonded transceivers is configuring the transmission

 parameters, such as data rate and interleaver depth, so that the data from the two lines arrive at the



 10
   To be clear, as explained above, Defendants disagree that the specification refers to “a difference
 in latency” as “a difference in configuration latency.” But assuming arguendo that the referenced
 “latency” is “configuration latency,” CommScope’s alternative construction should be adopted.



                                                  11
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 21 of 42 PageID #: 4336




 receiving transceiver at as close to the same time as possible. Where, as here, the specification

 discloses only a single embodiment potentially relevant to configuration latency, it is appropriate

 to limit the claims to that embodiment. See, e.g., Wi-LAN USA, Inc. v. Apple Inc., 830 F.3d 1374,

 1382-83 (Fed. Cir. 2016). Additionally, TQ Delta’s proposed construction is nonsensical, as a

 difference between two things cannot be “reduced” without knowing what the difference was

 originally.

        D. Family 3 Terms

                i. “Shared Memory” 11

      TQ Delta’s Proposed Construction                   Defendants’ Proposed Construction
  “common memory used by at least two                 Plain and Ordinary Meaning
  functions, where a portion of the memory can
  be used by either one of the functions”

        As an initial matter, TQ Delta incorrectly implies that arguments made by 2Wire in the

 Delaware litigation somehow limit Defendants in this case. TQD Br. at 12–13. Because neither

 Defendant was a party in the Delaware litigation, Defendants in this case should not be limited to

 positions taken by 2Wire.

        TQ Delta’s proposed construction improperly narrows the claim language by injecting

 confusion into a term that was well known to a POSITA at the time of the invention, again without

 even attempting to support its construction with evidence of disclaimer or lexicography. See Wesel

 Decl. at ¶ 42. Specifically, TQ Delta’s construction improperly narrows the meaning of the term

 “shared memory” to a specific use of that shared memory—that is, where a portion of the memory

 can be used by either one of the functions. TQ Delta’s construction presupposes that a shared

 memory has been programmed so that multiple functions actually access the same location in the



 11
   This term appears in claims 9 and 13 of the ’882 Patent; claims 1 and 5 of the ’048 Patent; claim
 10 of the ’5473 Patent; claims 21 and 22 of the ’510 Patent; claim 2 of the ’608 Patent.



                                                 12
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 22 of 42 PageID #: 4337




 common memory. But there exist certain implementations of shared memory where the same

 portion of memory is never used by multiple functions. See id. at ¶¶ 43–44. For example, two

 functions can be assigned to a shared memory such that the functions use different memory spaces

 without ever using the same portion of the shared memory. Id. at ¶ 43. A POSITA would have

 understood that, even where the shared memory was programmed in such a way, the memory itself

 was still a shared memory. Id. at ¶¶ 43–44. Thus, contrary to TQ Delta’s assertion, Defendants

 are not asserting that “essentially all memory” is shared memory. TQD Br. at 13. Rather,

 Defendants are merely recognizing that a shared memory may be used in different ways, and that

 TQ Delta’s proposed construction contemplates only one of those ways—and the intrinsic

 evidence does not support TQ Delta’s attempt to narrow the plain meaning of the term.

         Nor does Defendants’ interpretation of the term contradict what is disclosed in the claims

 or specification. Indeed, as TQ Delta acknowledged (TQD Br. at 13-14), the claims of the patents

 merely contemplate “allocating” an amount of memory to an interleaver or deinterleaver. See,

 e.g., ’882 Patent at claims 1, 5, 9, 13. Nowhere do the claims require that the same portion of that

 memory be used by both the interleaver and deinterleaver. TQ Delta likewise fails to point to any

 lexicography or disclaimer in the specification that would limit a POSITA’s understanding of a

 shared memory to this specific implementation. In fact, TQ Delta’s citations to the specification—

 e.g., describing that shared memory can “be designed to allocate a first portion of shared memory

 120 to a first interleaver, e.g., 216, in the transmitter portion of the transceiver and allocate a second

 portion of the shared memory to a second interleaver, e.g., 226, in the transmitter portion of the

 transceiver,” id. at 5:40–46—are agnostic to whether a single portion of the memory can be used

 by either one of the functions. Thus, this is not a case where the patents have limited the meaning

 of the claim language beyond its plain and ordinary meaning. And the plain and ordinary meaning




                                                    13
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 23 of 42 PageID #: 4338




 is broader than that proposed by TQ Delta. Because TQ Delta has not met its burden to identify

 any disclaimer or lexicography, this term should be afforded its full plain and ordinary meaning.

                  ii. “Wherein The Generated Message Indicates How The Memory Has Been
                      Allocated Between The [First Deinterleaving / Interleaving] Function And
                      The [Second] Deinterleaving Function” / “A Message Indicating How The
                      Shared Memory Is To Be Used By The Interleaver Or Deinterleaver” 12

       TQ Delta’s Proposed Construction                  Defendants’ Proposed Construction
  Plain and ordinary meaning. No construction       Plain and ordinary meaning, i.e., “the
  necessary.                                        message indicates the amount of memory
                                                    [that has been allocated to / is to be used by]
                                                    the [first deinterleaving / interleaving]
                                                    function and the amount of memory [that has
                                                    been allocated to / is to be used by] the
                                                    [second] deinterleaving function”

           As TQ Delta admits, in the Delaware litigation, TQ Delta proposed the construction now

 put forth by Defendants in this case. See TQD Br. at 14-15. TQ Delta does not appear to disagree

 with this construction, nor can it, given that it is estopped from doing so. See Love, 677 F.3d at

 261; Minn. Mining and Mfr’g Co. v. Chemque, Inc., 303 F.3d 1294, 1302-04 (Fed. Cir. 2002).

 Defendants’ proposed construction provides clarity to the claim language. At first blush, it is

 unclear exactly what the claims mean in reciting “how the memory has been allocated” or “how

 the shared memory is to be used.” But upon reading the claims in view of the specification, a

 POSITA would understand that the claims are referencing an indication of the amount of memory

 that is used. See Wesel Decl. at ¶¶ 47-49. This clarification would be helpful to the jury and is

 entirely consistent with the plain and ordinary meaning.

           TQ Delta’s concern that Defendants may argue a different construction to the jury is

 unfounded. If such a concern is all that is keeping the parties from reaching agreement on this




 12
      These terms appear in claims 10 and 28 of the ’5473 Patent.



                                                  14
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 24 of 42 PageID #: 4339




 helpful construction, Defendants agree not to assert that the meaning of this claim language is

 limited to indicating “a number of bytes of memory.”

           E. Family 4 Terms

                  i. “Phase Characteristic(s)”13

      TQ Delta’s Proposed Construction                     Defendants’ Proposed Construction
  “one or more values that represent the angular        Plain and ordinary meaning
  aspect of a carrier signal”

           TQ Delta’s construction improperly narrows the term “phase characteristic(s)” and should

 be rejected in favor of the plain and ordinary meaning of the term. TQ Delta argues that the

 specification teaches that “a phase characteristic of a carrier signal is a value (e.g., the QAM

 symbol constellation points) that represents the angular aspect of the carrier signal.” TQD Br. at

 16. But rather than provide clarity, TQ Delta’s construction simply risks confusing the jury,

 requiring explanation of QAM symbol constellation points and “angular aspects of a carrier

 signal.” Also, TQ Delta’s proposal is overly restrictive. Many “phase characteristics” may exist

 for a carrier signal, but TQ Delta’s construction limits those characteristics to values that “represent

 the angular aspect” of that carrier signal. See, e.g., ADTRAN Case Markman Hearing Tr. (Mar.

 18, 2021) at 19, 25 (counsel for TQ Delta representing that there may be “infinite” phase

 characteristics and that TQ Delta’s expert explained that “there are numerous ways that one skilled

 in the art would understand that a phase characteristic can be expressed”); WesternGeco LLC v.

 ION Geophysical Corp., 889 F.3d 1308, 1323-24 (Fed. Cir. 2018). TQ Delta’s construction should

 be rejected, and the term should be given its plain and ordinary meaning.

                  ii. “Substantially Scramble The Phase Characteristics Of The Plurality of
                      Carrier Signal” 14

         TQ Delta’s Proposed Construction                  Defendants’ Proposed Construction

 13
      This term appears in claim 14 of the ’008 Patent.
 14
      This term appears in claim 14 of the ’008 Patent.



                                                   15
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 25 of 42 PageID #: 4340




  “adjust the phase characteristics of the carrier        Plain and ordinary meaning
  signals by varying amounts to produce a
  transmission signal with a reduced peak to
  average power ratio (PAR)”

           TQ Delta’s construction should be rejected in favor of the plain and ordinary meaning. It

 is well established that importing functional language from the specification into a term’s

 construction is inappropriate. See, e.g., Ecolab, Inc. v. Envirochem, Inc., 264 F.3d 1358, 1367

 (Fed. Cir. 2001) (“[T]he fact that the claimed composition was designed to solve certain problems

 of the prior art . . . does not mean that we must attribute a function to the nonfunctional [claim

 language]. Where the function is not recited in the claim itself by the patentee, we do not import

 such a limitation.”); Va. Panel Corp. v. Mac Panel Co., 133 F.3d 860, 866 (Fed. Cir. 1997). TQ

 Delta’s construction does just that, as it requires the functional result of—“produc[ing] a

 transmission signal with a reduced peak to average power ratio (PAR).” But TQ Delta provides

 no argument regarding disclaimer, disavowal, or lexicography to support its construction. The

 term should be given its plain and ordinary meaning.

                  iii. “Same Bit Value” / “Multiple Carrier Signals Corresponding To The
                       Scrambled Carrier Signals Are Used By The First Multicarrier Transceiver
                       To Modulate The Same Bit Value” 15

      TQ Delta’s Proposed Construction                   Defendants’ Proposed Construction
  “same bit value”: “value of the same bit”           “same bit value”: Indefinite.

  “multiple carrier signals corresponding to          “multiple carrier signals corresponding to
  the scrambled carrier signals are used by           the scrambled carrier signals are used by
  the first carrier first multicarrier                the first carrier first multicarrier
  transceiver to modulate the same bit                transceiver to modulate the same bit
  value”: “a first carrier signal is used by the      value”: Indefinite.
  first multicarrier transceiver to demodulate
  the value of a bit of the received bit stream
  and at least one more carrier signal is used by
  the first multi carrier transceiver to
  demodulate the value of the same bit of the
  received bit stream, wherein the carrier

 15
      These terms appear in claim 14 of the ’008 Patent.



                                                     16
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 26 of 42 PageID #: 4341




  signals correspond to the plurality of phase-
  shifted and scrambled carrier signals.”

        Both of these terms refer to the “same bit value,” which is indefinite because a POSITA

 would not understand with reasonable certainty whether “same bit value” refers to the same bit

 position or instead refers to the same bit value as between 0’s and 1’s. See Zimmerman Decl. at

 ¶¶ 76-77. As discussed below, TQ Delta itself has taken inconsistent positions regarding this term,

 demonstrating that the term is indefinite: TQ Delta adopted the former construction (same bit

 position) in Delaware, but now proposes a different construction (value of the same bit).

        A POSITA could interpret “same bit value” in those two, very distinct ways, according to

 the term’s usage in the specification. First, a POSITA could interpret “same bit value” to mean a

 particular bit in a series of bits, i.e., a bit position. See Zimmerman Decl. at ¶ 77. For example,

 the specification refers to the “same input data bits,” stating that an example of a case “where the

 phases of modulated carrier signals are not random [is] when . . . multiple carrier signals are used

 to modulate the same input data bits.” ’008 Patent at 2:16-19. A provisional application to which

 the Family 4 Patent claims priority also refers to this concept in terms of “same data bits” rather

 than “same bit value.” ’134 Provisional at 1-2 (stating that improving phase randomization would

 be needed where “[t]he same data bits are used to modulate multiple carriers. This would occur

 in cases where it was desired (or required) to send the same data bits on different carriers and then

 combine the results at the receiver in order to receive the bits at a lower Bit Error Rate (this is a

 well-known method for using frequency diversity to decrease the BER).”). A POSITA would

 understand both of these passages, which detail the problem the invention purportedly addresses,

 to mean repeating a portion of a bit stream on multiple carriers or, equivalently, modulating the

 same bit position in a series of bits onto multiple carriers. See Zimmerman Decl. at ¶ 77.




                                                  17
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 27 of 42 PageID #: 4342




         But the specification repeatedly uses the actual claim language “bit value” to refer to 0’s

 and 1’s, as opposed to bit position. See Zimmerman Decl. at ¶ 78. For example, the specification

 discusses selecting a value for use in computing the phase shift independently of “the bit value(s)

 modulated onto the carrier signal,” i.e., independently of the value of the bit as 0 or 1. See ’008

 Patent at 4:50-53; see also id. at 5:2-4, Abstract, 2:39-40.

         The different meanings used in the specification create uncertainty over claim scope, and

 the prosecution history does not provide any guidance either. See Zimmerman Decl. at ¶¶ 79, 80.

 In the first meaning, the claim scope would be limited to instances where specific portions of a bit

 stream are modulated on multiple carriers. But the meaning of “bit value” generally described in

 the specification results in a much broader claim scope. Because the value of a bit can only be 0

 or 1, once there are three or more carriers carrying only a single bit, at least two of them will be

 modulated by the same bit value (0 or 1). Thus, if “same bit value” is interpreted to refer to the

 value of the bit (0 or 1), the claim scope is broadened to include essentially any transmission. See

 Id. at ¶ 79.

         TQ Delta’s construction does nothing to clarify the term. Incredibly, TQ Delta appears to

 argue that the term “same bit value” should be accorded the second understanding described above,

 which, as explained, would cover essentially any transmission. See TQD Br. at 18 (“Those of skill

 in the art would have understood that the term ‘same bit value’ refers to the ‘value of the same

 bit.’ . . . The Patents solve this problem by utilizing a phase scrambler to shift the phases of the

 carriers for the same bit values (e.g., the bit values that cause the peak) to reduce the PAR of the

 signal, which reduces the likelihood of clipping and excess power consumption.”). Yet in the

 Delaware litigation, TQ Delta itself interpreted “same bit value” according to the first

 understanding described above, i.e., “same bit position.” See TQD Delaware Family 4 Br. at 64.




                                                  18
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 28 of 42 PageID #: 4343




 TQ Delta even argued in the Delaware litigation, inconsistent with its position here, that the second

 understanding is “unreasonably broad and would render the entire term superfluous.” Id. at 65.

 Accordingly, the term fails to inform those of ordinary skill in the art about the scope of the

 invention with reasonable certainty, and thus the Court should hold the term indefinite.

                  iv. “Computing A Phase Shift For Each Carrier Signal” 16

       TQ Delta’s Proposed Construction                  Defendants’ Proposed Construction
  Plain and ordinary meaning. No construction        “computing the amount by which a phase is
  necessary.                                         adjusted for each carrier signal”

           Defendants’ construction clarifies the term “phase shift” for the jury by explaining,

 consistent with the specification, that it is the “amount by which a phase is adjusted” for each

 carrier signal. See, e.g.,’008 Patent at 6:41-46 (“The DMT transmitter 22 then computes . . . the

 phase shift that is used to adjust the phase characteristic of each carrier signal. The amount of

 the phase shift combined with the phase characteristic of each QAM-modulated carrier signal

 depends upon the equation used and the one or more values associated with that carrier signal.”).

 TQ Delta’s briefing confirms the need for this construction, which the Delaware court adopted.

 See TQD Br. at 19-20 (citing Family 4 CC Mem. Op. at 17-18). TQ Delta asserts that the term’s

 “plain language can encompass simply computing the fact that a phase shift exists.” Id. at 19. It

 is unclear what TQ Delta means, but regardless that is not what the term says. It does not say to

 compute the existence of a phase shift; it says to “comput[e] a phase shift.” The correct

 construction, consistent with the intrinsic record and the Delaware court’s construction, is

 “computing the amount by which a phase is adjusted for each carrier signal.”

                  v. “Combining The Phase Shift Computed For Each Respective Carrier Signal
                     With The Phase Characteristic Of That Carrier Signal” 17

         TQ Delta’s Proposed Construction                  Defendants’ Proposed Construction

 16
      This term appears in claim 14 of the ’008 Patent.
 17
      These terms appear in claim 14 of the ’008 Patent.



                                                  19
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 29 of 42 PageID #: 4344




  Plain and ordinary meaning. No construction         “adjusting the phase of each carrier signal by
  necessary.                                          an amount computed for that carrier signal”

           The parties agree that this term and the prior term should be construed similarly. See TQD

 Br. at 20. For the same reasons described above, the Court should adopt Defendants’ construction.

           F. Family 6 Terms

                  i. “Steady-State Communication”18

      TQ Delta’s Proposed Construction                     Defendants’ Proposed Construction
  “Showtime”                                          “the state of the transceiver reached after all
                                                      initialization and training is completed in
                                                      which user data is transmitted or received”

           Defendants’ proposed construction is consistent with the plain and ordinary meaning of the

 term “steady-state communication,” while TQ Delta’s construction limits the term to an example

 embodiment in the specification.        See TQD Br. at 20-21 (citing ’162 Patent at 2:41-47);

 WesternGeco LLC v. ION Geophysical Corp., 889 F.3d 1308, 1323-24 (Fed. Cir. 2018). The

 specification does not limit “steady-state communication” to only “Showtime.” Rather, the

 specification explains that “steady-state communication” may be consistent with “Showtime” for

 DSL technologies, but the claims are not limited to DSL technologies. See, e.g., ’835 Patent at

 4:3-7 (explaining that a process can be done in “steady-state transmission, i.e., Showtime for DSL

 systems”).      The specification describes “steady-state communication” consistently with

 Defendants’ construction as “the state of the transceiver reached after all initialization and training

 is completed in which user data is transmitted or received.” See, e.g.,’835 Patent at 4:19-31

 (explaining that steady-state transmission occurs when “user information is transmitted,” and

 contrasting the “new initialization state” with “steady-state transmission”); 4:3-7 (explaining that

 steady-state transmission occurs when user information bits are transmitted). The Court should



 18
      This term appears in claim 8 of the ’112 Patent; claims 8 and 24 of the ’835 Patent.



                                                   20
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 30 of 42 PageID #: 4345




 adopt Defendants’ construction, which is the same as the Delaware court’s construction. Family

 6 CC Order at 2.

                  ii. “Flag Signal” 19

       TQ Delta’s Proposed Construction                    Defendants’ Proposed Construction
  “signal used to indicate when an updated FIP        “signal used to indicate when updated FIP
  setting / interleaver parameter value is to be      settings / interleaver parameter values are to
  used (the signal does not contain message           be used”
  data indicating when the updated FIP setting /
  interleaver parameter value is to be used)”

           TQ Delta’s construction adds a negative limitation that finds no support in the

 specification. TQ Delta proposes that the term “flag signal” be construed such that the signal “does

 not contain message data indicating when the updated FIP setting / interleaver parameter value is

 to be used” and, instead, is artificially limited to an empty symbol that does not contain message

 data. TQ Delta states (with no support) that its proposed negative limitation “clarifies what the

 affirmative construction already states—that a flag signal is different from message data.” TQD

 Br. at 21. But the affirmative construction is not limiting in this manner at all. TQ Delta points to

 intrinsic evidence showing that the specification uses both terms, “message” and “flag signal”—

 see TQD Br. at 21 (citing ’835 Patent at Fig. 6, 19:14-30, and 11:66-12:24)—but TQ Delta does

 not point to anything in the specification that arises to disclaimer or lexicography as to “flag

 signal.” TQ Delta’s construction should be rejected. See Mass. Inst. of Tech. v. Shire Pharm.,

 Inc., 839 F.3d 1111, 1118 (Fed. Cir. 2016).

                  iii. “FIP Setting” and “FIP Value” 20

       TQ Delta’s Proposed Construction                   Defendants’ Proposed Construction
  Plain and ordinary meaning. No construction         FIP Setting: “forward error correction and
  necessary.                                          interleaver parameters characterized by the set
                                                      of parameters for codeword size in bytes,
                                                      number of information bytes in a codeword,

 19
      This term appears in claims 8 and 24 of the ’835 Patent; claims 8 and 9 of the ’162 Patent.
 20
      These terms appear in claims 8, 10, 24, and 26 of the ’835 Patent; claim 8 of the ’112 Patent.



                                                   21
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 31 of 42 PageID #: 4346




                                                    number of parity or redundancy bytes in a
                                                    codeword, and interleaver depth in number of
                                                    codewords”

                                                    FIP Value: “numerical value of codeword
                                                    size in bytes, number of information bytes in
                                                    a codeword, number of parity or redundancy
                                                    bytes in a codeword, or interleaver depth in
                                                    number of codewords”

        The term “FIP Setting” did not have a generally understood meaning at the time of the

 alleged invention. McNair Decl. at ¶ 57. Although a POSITA “would have generally understood

 the processes of forward error correction encoding and interleaving to be governed by certain

 parameters, a POSITA would have been unfamiliar with the particular initialism ‘FIP’ as used in

 the Family 6 Patents.” McNair Decl. at ¶ 58. The Family 6 Patents define “FIP Settings” as “FEC

 and Interleaving Parameter (FIP) settings.” ’835 Patent at 3:31-34. Because the Family 6 Patents

 specifically define the term “FIP,” “a person of ordinary skill in the art would have understood the

 Family 6 Patents to be referring to particular FEC and interleaving parameters as explained in the

 Family 6 Patents.” McNair Decl. at ¶ 58.

        The Family 6 Patents define the FIP Settings to be comprised of the parameters N, K, R,

 and D, which the Family 6 Patents define as “the codeword size in bytes,” “the number of

 information bytes in a codeword,” “the number of parity (or redundancy) bytes in a codeword,”

 and “the interleaver depth in number of codewords,” respectively. ’835 Patent at 1:65-2:18; see

 also McNair Decl. at ¶ 59. Because the Family 6 Patents define “FIP Settings” as the N, K, R, and

 D parameters with particular definitions in the specification, the Court should construe the term

 consistent with Defendants’ proposed construction. See, e.g., Irdeto Access, Inc. v. EchoStar

 Satellite Corp., 383 F.3d 1295, 1300 (Fed. Cir. 2004) (if a term “lacks an accepted meaning the

 art,” it should be construed “only as broadly as provided for by the patent itself”).




                                                  22
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 32 of 42 PageID #: 4347




           TQ Delta provides no justification for its plain-and-ordinary-meaning construction beyond

 citing the Delaware court’s opinion on this term. That court incorrectly held that an extrinsic

 standard referenced in the Family 6 Patents shows that the FIP Settings may comprise additional

 parameters other than the N, K, R, and D parameters. Family 6 CC Mem. Op. at 12; see, e.g.,

 Zenon Envtl., Inc. v. U.S. Filter Corp., 506 F.3d 1370, 1378-79 (Fed. Cir. 2007). Because the term

 “FIP Settings” was unfamiliar to a POSITA at the time of the Family 6 Patents, and particularly

 because the Family 6 Patents specifically define the term, the Court should adopt Defendants’

 construction. The parties agree that the issues regarding “FIP setting” and “FIP value” are

 substantially similar and that the terms should be construed consistently. See TQD Br. at 23-24.

                  i. “Interleaver Parameter Value” 21

       TQ Delta’s Proposed Construction                   Defendants’ Proposed Construction
  Plain and ordinary meaning. No construction         “the numerical value of the interleaver depth
  necessary.                                          in number of codewords”

           Similar to “FIP Setting,” “interleaver parameter value” was not a term of art at the time of

 the alleged invention and did not have a generally understood meaning. See McNair Decl. at ¶¶ 57,

 60. Accordingly, a POSITA would have looked to the specification of the Family 6 Patents to

 understand the term “interleaver parameter value,” which defines the term as “interleaver depth in

 number of codewords.” ’162 Patent at 2:10-22, 3:33-49, 13:43-47. A POSITA would thus

 understand that, “among the defined FIP values, the value relevant to an interleaver parameter

 value is a numerical value associated with interleaver depth, which as defined in the Family 6

 Patents is ‘interleaver depth in number of codewords.’” McNair Decl. at ¶ 61. The Family 6

 Patents define no other units for interleaver depth other than codewords. Id. Because the Family

 6 Patents define the terms FIP Settings and FIP Values (as discussed earlier), the corresponding



 21
      This term appears in claims 10 and 26 of the ’835 Patent; claim 8 of the ’162 Patent.



                                                   23
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 33 of 42 PageID #: 4348




 term “interleaver parameter value” should be construed consistent with its disclosed scope in the

 specification. See Irdeto Access, 383 F.3d at 1300.

        G. Family 9 Terms

                i. “Higher Immunity To Noise” 22

      TQ Delta’s Proposed Construction                  Defendants’ Proposed Construction
  “higher SNR Margin”                               Plain and ordinary meaning

        TQ Delta’s proposed construction improperly narrows the claim language in a manner

 inconsistent with its plain meaning.     Wesel Decl. at ¶ 57.      This term relates to messages

 communicated as positive or negative acknowledgements of received packets. ’809 Patent at

 14:60-16:67; see also Wesel Decl. at ¶ 58. In connection with the communication of such

 messages, the patents disclose that “[s]ince the channel has a limited data rate and is not

 necessarily error-free, it is important to make sure that these messages are as robust as possible

 and consume the least amount of data rate.” ’809 Patent at 15:58-61; see also Wesel Decl. at ¶ 59.

 The patents then identify “several ways these requirements can be addressed,” including “repeating

 transmission of each message a number of times,” sending at least one repeated message in one or

 more multi-tone (“DMT”) symbols, sending a single message for multiple packets that “include[s]

 multiple packet count values,” and/or operating “the DMT sub-carriers that modulate these

 messages … with a much higher SNR [signal-to-noise ratio] margin, e.g., 15 dB, as compared to

 the normal 6 dB margin of xDSL systems.” ’809 Patent at 15:55-16:67; see also Wesel Decl. at

 ¶ 60. In light of these disclosures, a POSITA would have understood that each of these ways could

 be used alone or in combination with the other ways. Wesel Decl. at ¶ 61.23



 22
   This term appears in claims 2 and 9 of the ’348 Patent; claims 1, 9, 16, 23 of the ’809 Patent.
 23
     Moreover, the specification introduces each of these examples with the language
 “[a]lternatively, or in addition,” and thus expressly recognizes that each of these ways may be used
 individually or in combination with one another. ’809 Patent at 15:55-16:67.



                                                 24
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 34 of 42 PageID #: 4349




        In support of its construction, TQ Delta cites only a single passage from the specification,

 and that passage itself makes clear that a higher SNR margin is just one “alternative[]” (or an

 “addition”) to other contemplated ways of achieving a higher immunity to channel noise. TQD

 Br. at 25 (citing ’348 Patent at 16:4-9). TQ Delta provides no reason why the term should be

 limited to just one example (among several) referenced in the specification.                Beneficial

 Innovations, Inc. v. Blockdot, Inc., No. 2:07-cv-263, 2010 WL 1441779, at *10 (E.D. Tex. Apr.

 12, 2010).

                ii. The “Using” Terms24

       TQ Delta’s Proposed Construction                  Defendants’ Proposed Construction
  Plain and ordinary meaning. No construction        Indefinite
  necessary

        The “using” terms are indefinite, as a POSITA would not understand, with reasonable

 certainty, the scope of transmitting or receiving data using an interleaver or deinterleaver. This is

 because interleaving and deinterleaving functionalities do not actually transmit or receive data;

 rather, the transmitter transmits and the receiver receives data using hardware components, such

 as digital-to-analog or analog-to-digital converters, amplifiers, and antennas. Prior to being

 transmitted, data can be interleaved by an interleaver to spread out the symbols of each codeword.

 The data, however, is not transmitted using the interleaver functionality. After the data is received,

 it can be made available to a deinterleaver for deinterleaving. Deinterleaving then returns the

 symbols to their original pre-interleaving order so that they can be properly understood by the error

 correction and/or error detection decoders. Wesel Decl. at ¶ 51. The data, however, is not received

 using the deinterleaver functionality. As Dr. Cooklev admitted at his deposition, the interleaver




 24
   These terms appear in claims 16, 30, 38, and 54 of the ’577 Patent; claims 1, 3, 9, and 11 of the
 ’348 Patent; claims 1 and 3 of the ’4473 Patent; claims 1, 3, 8, 10, 15, 17, and 22 of the ’809 Patent.



                                                   25
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 35 of 42 PageID #: 4350




 reorders bytes, and the transmitter transmits the interleaved stream of bytes to the receiver, which

 then makes that reordered sequence of bytes available to the deinterleaver for deinterleaving. See

 Cooklev Dep. Tr. at 35:11-36:11.

           TQ Delta’s argument that the language of the claims and the specification support its

 position is incorrect. TQD Br. 26. Those claims and specification excerpts merely repeat the

 illogical proposition of transmitting/receiving using an interleaver/deinterleaver, which, as

 discussed above, does not sufficiently inform a POSITA about the scope of the term.

                  iii. “Receive At Least One Message Without Using Interleaving” 25

       TQ Delta’s Proposed Construction                  Defendants’ Proposed Construction
  Plain and ordinary meaning. No construction        Indefinite
  necessary

           This term is indefinite, as a POSITA would not understand with reasonable certainty what

 it means to receive a message without using interleaving. In addition to the reasons discussed in

 the previous section, this term is indefinite because interleaving is an operation that occurs only at

 the transmitter portion of the transceiver. Wesel Decl. at ¶ 50. Transceivers employ a variety of

 techniques to improve the reliability of data transmission, including forward error correction,

 retransmission, and interleaving/deinterleaving. Id. at ¶ 51. Each such technique requires a

 function to be performed at the transmitter portion of the transceiver at one end of the connection,

 and a corresponding but distinct function to be performed at the receiver portion of the transceiver

 at the other end of the connection. Id. For interleaving/deinterleaving, the interleaving operation

 is performed only at the transmitter portion and not at the receiver portion. Id. at ¶ 52. Likewise,

 the deinterleaving operation is performed only at the receiver portion and not at the transmitter

 portion, as confirmed by the specification. Id. at ¶¶ 52-54; ’809 Patent at 9:66-10:07.



 25
      This term appears in claims 37 and 53 of the ’577 Patent.



                                                  26
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 36 of 42 PageID #: 4351




         As a result, a claim where the receiver receives a packet using interleaving, or conversely,

 where the transmitter transmits a packet using deinterleaving, is meaningless to a POSITA. Wesel

 Decl. at ¶ 52. Similarly, as pertinent here a POSITA would not understand the meaning of

 receiving a message without using interleaving, as the ramification of that phrase is that

 interleaving could be used for receiving a message (even though interleaving is a function used

 only at the transmitter portion of the transmitter). Wesel Decl. at ¶ 56. Because a POSITA would

 not know the scope of what is meant by this disputed claim phrase, it is indefinite. Id. at ¶ 55.26

        H. Family 10 Terms

        As an initial matter, claim 10 of the ’354 Patent is directed to “receiving” bits on a different

 plurality of carriers with different SNR Margins. ’354 Patent at 10:36-47. TQ Delta’s opening

 claim construction brief cites irrelevant portions of the ’354 Patent’s description of the

 transmission of bits and bit allocation. TQD Br. at 27-28. Such disclosures in the specification

 do not inform a POSITA regarding the scope of the asserted claimed directed to “receiving” bits.

                i. “A Multicarrier Communications Transceiver Operable To: Receive A
                   Multicarrier Symbol Comprising A First Plurality Of Carriers”27

       TQ Delta’s Proposed Construction                  Defendants’ Proposed Construction
  Plain and ordinary meaning. No construction        Indefinite
  necessary

        This phrase is indefinite. As described in Dr. Zimmerman’s declaration, a POSITA would

 not understand the meaning of “a multicarrier symbol comprising a first plurality of carriers” and

 a second plurality of carriers. Zimmerman Decl. at ¶¶ 83-86. A multicarrier symbol in the context


 26
    In the context of the “using” terms, TQ Delta points to other claims in the patents and disclosures
 in the specification that recite a transceiver operable to (1) transmit messages using a forward error
 correction encoder and an interleaver, and (2) receive messages using a forward error correction
 decoder and deinterleaver. TQD Br. at 26. But this is not what this disputed claim describes, and
 the Court should decline TQ Delta’s implicit invitation to rewrite it. See Amgen Inc. v. Hoechst
 Marion Roussel, 314 F.3d 1313, 1342 (Fed. Cir. 2003).
 27
    This term appears in claim 10 of the ’354 Patent.



                                                  27
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 37 of 42 PageID #: 4352




 of a discrete multitone modulation system “is the sum of the full collection of carriers modulated

 by the system.” Id. at ¶ 84. The intrinsic record of the ’354 Patent fails to inform a POSITA how

 a multicarrier symbol is subdivided into different subsets of carriers. TQ Delta’s own expert,

 Dr. Cooklev, has admitted that the term “multicarrier symbol” appears only in the claim language,

 and, when asked, he could not explain how the multicarrier symbol comprises individual subsets

 of carriers.    See Cooklev Dep. Tr. at 77:10-79:16.        Moreover, TQ Delta’s opening claim

 construction brief fails to cite any language in the ’354 Patent specification that explains how the

 multicarrier symbol is divided and therefore “comprises” a first and second plurality of carriers.

 Because this term is not “precise enough to afford clear notice of what is claimed,” it is indefinite.

 Nautilus, 134 S. Ct. at 2129.

                  ii. “Receive A First Plurality Of Bits On The First Plurality Of Carriers Using
                      A First SNR Margin; Receive A Second Plurality Of Bits On The Second
                      Plurality Of Carriers Using A Second SNR Margin”28

       TQ Delta’s Proposed Construction                  Defendants’ Proposed Construction
  Plain and ordinary meaning. No construction        Indefinite
  necessary

           This phrase is indefinite. As Dr. Zimmerman explained, a POSITA would not understand

 the meaning of “using” a “[first/second] SNR margin” to “receive a [first/second] plurality of bits

 on the [first/second] plurality of carriers.” Zimmerman Decl. at ¶¶ 87-91. For instance, the

 language of claim 10 of the ’354 Patent is directed to receiving information bits. By contrast, bit

 loading is performed with the transmitter portion of the transceiver—not the receiver portion. Id.

 at 89; see also ’354 Patent at 1:57-67 (“required SNR to transmit 4 QAM bits”). Therefore, it is

 unclear to a POSITA how the transceiver is operable to receive a [first/second] plurality of bits

 using an SNR margin. Moreover, assigning different SNR margins, as described in the ’354 Patent



 28
      This term appears in claim 10 of the ’354 Patent.



                                                   28
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 38 of 42 PageID #: 4353




 specification and discussed in TQ Delta’s opening brief, fails to describe how the SNR Margin is

 used to “receive” a [first/second] plurality of bits. See ’354 Patent at 3:27-33, 4:10-11; 5:20-24,

 9:22-24 (discussing assignment of SNR margin). Because the ’354 Patent fails to inform, with

 reasonable certainty, what is intended by this claim term, the Court should find this term indefinite.

                  iii. “Wherein The First SNR Margin Provides More Robust Reception Than
                       The Second SNR Margin”29

       TQ Delta’s Proposed Construction                  Defendants’ Proposed Construction
  Plain and ordinary meaning. No construction        Indefinite
  necessary

           This phrase is indefinite. As described in Dr. Zimmerman’s declaration, a POSITA would

 not understand how the first SNR margin (at the carrier level) “provides more robust reception”

 than the second SNR margin (at the carrier level). Zimmerman Decl. at ¶¶ 92-96; ’354 Patent at

 1:45–49. In the context of SNR Margins, “robustness” means “the ability to maintain a specified

 quality of operation under uncertain or changing operating assumptions” at the system level.

 Zimmerman Decl. at ¶ 94. TQ Delta and its own expert acknowledge that the ’354 Patent

 specification describes robustness only as a measurement of the overall system. See TQD Br. at

 29; ’354 Patent at 2:17-51; Cooklev Dep. Tr. at 86:7-87:18. Not only does the specification fail

 to describe how an SNR margin (at the carrier level) provides more robust reception at the system

 level, but it also fails to describe how the SNR Margin, as opposed to other known factors, provides

 more robust reception. Zimmerman Decl. at ¶ 94. This term is therefore indefinite. See id. at ¶

 96.

                  iv. “Signal To Noise Ratio (SNR) Margin” / “SNR Margin”30

       TQ Delta’s Proposed Construction                  Defendants’ Proposed Construction
  Plain and ordinary meaning. No construction        a parameter used in determining the number
  necessary                                          of bits allocated to each of a plurality of
 29
      This term appears in claim 10 of the ’354 Patent.
 30
      These terms appear in claims 10, 11, and 12 of the ’354 Patent and claim 16 of the ’988 Patent.



                                                   29
  Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 39 of 42 PageID #: 4354




                                                           carriers, where the value of the parameter
                                                           specifies an extra SNR requirement assigned
                                                           per carrier in addition to the SNR required to
                                                           maintain a specified bit error rate (BER) for
                                                           the communication link at a specified bit
                                                           allocation

              Defendants propose to construe this term to “assist the jury and provide clarity for the triers

       of fact to determine [in]validity and [non]infringement.” Alexsam, Inc. v. Simon Prop. Grp., L.P.,

       No. 2:19-cv-331-RWS-RSP, 2021 U.S. Dist. LEXIS 255029, at *18 (E.D. Tex. Nov. 15, 2021).

       Defendants’ proposal finds direct support in the shared specification of the ’354 and ’988 Patents

       (see ’354 Patent at 2:4-9), and TQ Delta previously agreed to the same construction in the

       ADTRAN Case, 2018 U.S. Dist. LEXIS 71869, at *7-8 (D. Del. Apr. 27, 2018). TQ Delta, which

       proposed its own claim construction in the ADTRAN case and failed to argue that the plain and

       ordinary meaning applied, is estopped from proposing a different construction here. See id.; see

       also Love, 677 F.3d at 261 (holding that judicial estoppel prevents a party from asserting an

       inconsistent position taken in a previous proceeding).

III.          CONCLUSION

              For the foregoing reasons, Defendants respectfully request that the Court adopt their

       proposed claim constructions.


       Respectfully submitted, this 6th day of May, 2022

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                                                        30
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 40 of 42 PageID #: 4355




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                                      31
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 41 of 42 PageID #: 4356




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                                      32
Case 2:21-cv-00310-JRG Document 135 Filed 05/06/22 Page 42 of 42 PageID #: 4357




                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 6th day of May, 2022, I electronically filed the foregoing

 DEFENDANTS’ RESPONSIVE CLAIM CONSTRUCTION BRIEF with the Clerk of Court

 using the CM/ECF system, which will automatically send notification of such filing upon Counsel

 of Record.


                                                   /s/ M. Scott Stevens
                                                   M. Scott Stevens




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